Case 2:O4-cv-O2733-.]P|\/|-STA Document 12 Filed 05/06/05 Page 1 of 2 Page|D 20

 

     

 

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UNITED sTA TES DlsTRICT COURT 355 F‘HY ~6 )LH fU= 52
WESTERNDISTRICT OF TENNESSEE H.;~\EEH-z >;,
WESTERN DIVISIoN %§ \,
DARYL HI SSONG JU'DGMENT IN A CIVIL CASE
VS
CCL LABEL, INC. CASE NO: 04-2733 Ml/An

 

The parties having Settled this matter:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order cf
Diemiesal With Prejudice filed May, §(z, 2005, this caee is
DISMISSED with prejudice.

APPROVED: !\UK
JO PHIPPS MCCALLA
FTED STATES DISTRICT COUR'I`

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Date l Clerk cf Ccurt

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Deputy Clerk@'

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02733 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

